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IN THE UNITED STATES DISTRICT CO 'i[`
FOR THE EASTERN DISTRICT OF VIRG IA U 2 d 20|8

Alexandria Division

 

 

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Pl“’""ff’ ) Civil No. 1;16-cv-1163
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V' ) I-Ion. Liam O’Grady
KlRSTJEN M. NIELSEN, Secretary, United §
States Department of Homeland Security, )
Dej@ndant. §
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MEMORANDUM OPINION

 

In an Order dated October 23, 2018, the Court granted Defendant’s Motion in Limine to
Exclude Certain Evidence Relating to Joseph Salvator. See Dkt. 129. This memorandum opinion
accompanies that Order.

I. BACKGROUND

Mr. Livingston is a former member of the Transportation Senior Executive Service
(“TSES”) at the Transportation Security Administration (“TSA”). Mr. Livingston began Working
at TSA in April 2013 as a K-band Program Manager and was promoted to Acting Deputy
Assistant Administrator at the Offlce of Intelligence and Analysis (“OIA”) in August 2013. In
December 2013, Mr. Livingston Was named Deputy Assistant Administrator (“Deputy AA”) of
the OIA, subject to a one-year probationary period. As a probationary employee, Mr. Livingston
could be removed through a one-step process for “unacceptable performance.” In his position as
Deputy AA, Mr. Livingston was directly supervised by Mr. Sadler, who served as the Assistant

Administrator (“AA”) of the OIA at that time.

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On October 2, 2014, the Executive Resources Council (“ERC”) met to discuss Mr.
Livingston’s probationary period, Which would not end for another two months. The ERC is
composed of senior-level TSA employees and its primary role is to evaluate employees’
performance, though the ERC can also consider allegations of employee misconduct. At the
October 2 meeting, the ERC discussed Mr. Livingston’s alleged leadership deficiencies and the
results of a morale survey. At the time of the ERC meeting, allegations of misconduct had also
been raised against Mr. Livingston including allegations that Mr. Livingston had engaged inc
hazing, bullying, inappropriate comments, retaliation, and cronyism in hiring and promotion.l
The ERC unanimously voted to remove and demote Mr. Livingston during the meeting; Mr.
Livingston was demoted to a non-TSES Program Specialist position in the Office of Chief Risk
Off`icer with a decrease in salary. The record contains conflicting evidence as to the basis of that
decision, and the parties dispute whether the ERC factored the allegations of misconduct into its
decision.

Mr. Livingston has brought Several claims of discrimination against TSA for his
demotion and his work environment Relevant to the present motion, Mr. Livingston alleges that
he was subject to disparate treatment than other employees in both the way in which he Was
demoted - through the ERC - and the severity of his demotion. In particular, Mr. Livingston
expressed his intent to call Mr. Salvator, a fellow former TSES employee who was also demoted,
as a comparator witness to support his disparate treatment claim.

At the time of his demotion, Mr. Salvator was a TSES employee who replaced Mr. Sadler
as the AA of the OIA. Mr. Salvator was a “career” TSA employee and had successfully

completed his probationary period nine years prior. Mr. Salvator was demoted by the Office of

 

' These allegations of misconduct were later investigated and found to be unsubstantiated

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Professional Responsibility (“OPR”) for misconduct The OPR, whose membership does not
overlap with ERC, is primarily responsible for addressing allegations of misconduct for certain
employees, though it can also consider allegations of deficient performance Mr. Salvator faced
misconduct allegations regarding inappropriate relationships, unprofessional conduct, and lack of
candor.2 After an investigation into his misconduct was completed, Mr. Salvator was sent a
Notice of Proposed Removal. Mr. Salvator would then have had the opportunity to present
counter-evidence to the deciding official, but instead accepted a favorable settlement offer. As
part of the settlement offer, Mr. Salvator was demoted to the non-TSES position of Deputy
Director of Security Operations but kept the same salary.

Defendant filed a Motion in Limine to exclude evidence regarding Mr. Salvator’s
demotion at trial, arguing that Mr. Livingston has failed to establish that Mr. Salvator is a valid
comparator. The motion was fully briefed, and the Court heard oral argument on October 19,
2018. For the reasons stated below, and for good cause shown, the Court granted Defendant’s
motion on October 23, 2018.

II. LEGAL STANDARD

To establish Mr. Salvator as a valid comparator, Plaintiff must show that he and Mr.
Salvator “are similar in all relevant respects.” Haywood v. Locke, 387 F. App’x 355, 359 (4th
Cir. 2010). This showing requires evidence that the Plaintiff and his purported comparator (l)
“dealt with the same supervisor,” (2) were “subject to the same standards,” and (3) “engaged in
the same conduct without such differentiating or mitigating circumstances that would distinguish
their conduct or the employer’s treatment of them for it.” Ia'. (quoting Mitchell v. Tolea'o Hosp. ,

964 F.2d 577, 583 (6th Cir. 1992)). This list is not a “magic formula,” and ultimately the valid

 

2 Mr. Salvator admitted at deposition that most of the misconduct allegations were true.

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comparator determination should be based on a flexible, common-sense evaluation of all the
relevant factors. Coleman v. Donahoe, 667 F.3d 83 5, 846-47 (7th Cir. 2012). To find that a
person is a valid comparator, however, ultimately there must be “enough common features
between the individuals to allow [for] a meaningful comparison.” Haywood, 387 F. App’x at 360
(quoting Humphries v. CBOCS West, Inc., 474 F.3d 387, 405 (7th Cir. 2007)) (alteration in
original).
III. DISCUSSION

The first factor to consider in determining whether Mr. Salvator is a valid comparath is
whether he and Mr. Livingston “dealt with the same supervisor.” Id. at 359. Despite the
terminology ascribed to this factor, the relevant inquiry is not whether Mr. Livingston and Mr.
Salvator dealt with the same direct supervisor, but rather whether they were treated differently by
the same decisionmaker Coleman, 667 F.3d at 848. Here, not only did Mr. Livingston and Mr.
Salvator have different direct supervisors, but their adverse employment actions also came from
different decisionmakers: Mr. Livingston was demoted by the ERC and Mr. Salvator was
demoted by the OPR. Mr. Livingston argues this factor should not affect the valid comparator
analysis because the fact that he and Mr. Salvator were demoted by different bodies is an
example of how Defendant subjected Mr. Livingston to disparate treatment However, the
differences in Mr. Livingston’s and Mr. Salvator’s alleged conduct and probationary status (see
infra) can explain why different bodies made the decisions about each employee. As a result, the
fact that Mr. Livingston and Mr. Salvator were demoted by different decision-making bodies is
evidence that Mr. Salvator is not a valid comparator.

The second factor to consider in determining whether Mr. Salvator is a valid comparator

is whether Mr. Livingston and Mr. Salvator were subject to the same standards Haywood, 387 F.

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App’x at 359. Mr. Livingston and Mr. Salvator were both members of the TSES, and their job
title within TSES differed only in that Mr. Livingston was a Deputy AA while Mr. Salvator was
an AA. Given their similar leadership positions, both Mr. Salvator and Mr. Livingston Were
subject to the same standards of conduct. Importantly, however, Mr. Livingston was in his
probationary period while Mr. Salvator was a career employee. As a result, the standards
governing demotions of Mr. Livingston were different, and much lower, than the standards
governing demotions of Mr. Salvator, As noted by Defendant, many cases have held that a
probationary employee is not similarly situated to a non-probationary employee See, e.g.,
Morrall v. Gates, 370 F. App’x 396, 398 n.l (4th Cir. 2010); Yeboah-Kankam v. Prince WiIliam
Cty. Sch. Ba'., 2017 WL 6758449, at *9 (E.D. Va. Dec. 29, 2017) (Brinkema, J.); Lz‘nton v.
Carter, 2015 WL 4937447, at *6 (E.D. Va. Aug. 18, 2015) (O’Grady, J.). Hence, Mr.
Livingston’s status as a probationary employee is a distinguishing factor that could explain
TSA’s different treatment of Mr. Livingston and Mr. Salvator, undermining Mr. Livingston’s
claim that Mr. Salvator is a valid comparator.

The third and final factor in determining Whether Mr. Salvator is a valid comparator is
whether he and Mr. Livingston engaged in the “same conduct” without differentiating or
mitigating circumstances that would distinguish either their conduct or their employer’s response
to it. Haywood, 387 F. App’x at 359. Mr. Salvator was demoted for engaging in misconduct
While the parties dispute whether the ERC considered the unsubstantiated allegations of similar
misconduct made against Mr. Livingston in making its decision to demote him, it is significant
that Mr. Livingston, unlike Mr. Salvator, also faced charges of performance deficiencies The

alleged performance deficiencies of Mr. Livingston could explain both the difference in the

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decision-making body and the difference in the demotion severity between Mr. Livingston and
Mr. Salvator. As a result, this factor also suggests that Mr. Salvator is not a valid comparator.
IV. CONCLUSION
In sum, there are too many significant differences between Mr. Livingston and Mr.
Salvator that could account for the differences in both their demotion procedure and demotion
severity for Mr. Salvator to be a valid comparator to Mr. Livingston. For these reasons, and for
good cause shown, the Court granted Defendant’s Motion to Exclude the evidence surrounding

Mr. Salvator’s demotion from his TSES position.

October_l`:& 2018 Liam O’ Gw ad
Alexandria, Virginia United States `strict Judge

